                                            IN THE UNITED STATES DISTRICT COURT
                                             FOR THE SOUTHERN DISTRICT OF IOWA


UNITED STATES OF AMERICA,
     Plaintiff,                                                                          No. 1:20-cr-00010-JAJ-CFB

v.

ANGELA DEE GARGES AND                                                             ORDER CONTINUING TRIAL AND
CASEY RAY GANTT,                                                                     PRETRIAL DEADLINES
     Defendant.


          Consistent with the Court’s April 8, 2020, Public Administrative Order No. 20-AO-8 (copy
attached), the Proclamation of a National Emergency, 1 the declaration of a State of Public Health
Disaster Emergency in the State of Iowa, 2 and the declaration of a State of Emergency in Des Moines, 3
all responding to the outbreak of Novel Coronavirus-19, the Court continues trial in this matter.
Additionally, Defendants have filed uncontested Motions to Continue the Trial and Pretrial Deadlines
to allow for additional time to prepare for trial or resolve the case (ECF 49 and 50).
          Defendants’ Motions to Continue (ECF 49 and 50) is granted. The Trial is continued from July
6, 2020, to August 31, 2020. The deadline for pretrial motions is continued from May 26, 2020, to
July 2, 2020. The Plea Entry Deadline is continued from June 22, 2020, to July 24, 2020. The hearing
on the Motion to Suppress as to Angela Dee Garges (ECF 37) remains set for July 21, 2020, at 1:30
p.m. in Council Bluffs before Chief Judge John A. Jarvey.
          IT IS ORDERED that the time between the April 8, 2020, Administrative Order and new trial
date is excluded from Speedy Trial Act calculations. See 18 U.S.C. § 3161. The Court finds that the
ends of justice served by a continuance outweigh the best interest of the public and Defendant in a
speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The new trial date will be maintained, assuming
conditions allow for a safe trial environment for the parties, attorneys, jurors, and court staff.
          IT IS SO ORDERED.
          Dated this 22nd day of June, 2020.




1
  Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19) Outbreak,
https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/
(Mar. 13, 2020).
2
  Gov. Reynolds Issues a State of Public Health Disaster Emergency (Mar. 17, 2020 10:15 AM), https://governor.iowa.gov/press-release/gov-reynolds-
issues-a-state-of-public-health-disaster-emergency.
3
  Mayor Declares State of Emergency in Des Moines (Mar. 15, 2020), https://www.dsm.city/news_detail_T2_R166.php.
